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             UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF MICHIGAN
                  SOUTHERN DIVISION
 ELYSE MCKENNA,

                    Plaintiff,
                                               Case No: 24-cv-12347
 v.                                            Hon. Judge Brandy R. McMillion

 ROBERT F. RILEY, an individual,                   DEFENDANT OMP’S
 RILEY & HURLEY, P.C. a domestic                     RESPONSE TO
   professional corporation,                     PLAINTIFF’S COUNSEL’S
 OLSMAN, MACKENZIE,                              MOTION TO WITHDRAW
 PEACOCK, P.C. a domestic professional            AND FOR TEMPORARY
   corporation,                                  STAY OF PROCEEDINGS
                       Defendants.
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                              Response to Motion and Brief
         1.     Defendant OMP concurs in Goodman Kalahar and McGinn Montoya

Love Curry & Sievers PA’s request to withdraw as counsel for Plaintiff.

         2.     Defendant OMP opposes counsel’s request for a stay of the proceedings

in this case and instead agrees to a 28-day extension of the parties’ currently pending

deadlines (to amend pleadings and supplement production).

                                         Discussion

         This case was filed by Plaintiff, a licensed attorney, in pro se, nine months ago, on

September 9, 2024. ECF No. 1. Plaintiff’s operative Second Amended Complaint (ECF

No. 23) is 363 paragraphs and 77 pages long. Plaintiff alleges 10 total legal counts, 6 of

which are against Defendant OMP. The case involves significant claims of wrongdoing

by Plaintiff that place Defendants’ personal and professional reputations as attorneys at

stake.

         Six months then elapsed due to multiple amendments to Plaintiff’s complaint,

and her instigation of lengthy, and ultimately unsuccessful, motion practice on ancillary

issues. Discovery began on March 20, 2025. At Plaintiff’s request, the Court set a one-

year period for discovery, with a fact discovery cutoff of March 6, 2026 and an expert

discovery cutoff of June 5, 2026. Trial is set for February 9, 2027. ECF No. 51. In the

three months of discovery that has elapsed so far, the Riley and OMP Defendants

worked diligently to move discovery forward, with little result. Nearly three months

after Defendant OMP served its first discovery, Plaintiff’s production remains

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incomplete. Ex. 1, OMP First Discovery. After significant effort by Defendants, her

depositions are set for August 11 and 12, 2025. Ex. 2, Notices of Pl. Depositions. A

discovery dispute has arisen regarding Plaintiff’s refusal to provide significant discovery

material based on unfounded assertions of the marital and attorney-client privileges.

Ex. 3, Req. for Telephone Conference.

      Defendant OMP would be prejudiced by a stay of this case. It has already

expended extensive time and resources to review and respond to multiple, lengthy

complaints, obtain basic, if only partial discovery responses from Plaintiff, and set her

deposition. A discovery dispute has arisen that needs resolution, and depositions are

approaching. A quarter of the discovery period has already elapsed. A stay would only

compound the already taxing delay caused by Plaintiff in discovery. Accordingly,

Defendant OMP offered to extend the parties’ currently pending deadlines to amend

the pleadings and supplement discovery responses by 28 days, for Plaintiff to find new

counsel or otherwise proceed with the case. This extension would allow Plaintiff time

to find new counsel and keep discovery on track without more unnecessary delay or

expense.

      The 28-day extension proposed here is in line with the Court's orders in other

matters, including where, unlike Plaintiff, litigants could not proceed without an

attorney, and significant court-ordered deadlines were pending. See 1-800 Water Damage

Int'l, LLC v. Restoration RX, LLC, No. CV 24-10110, 2025 WL 77243, at *1 (E.D. Mich.

Jan. 10, 2025) (30 days granted to corporation to find new counsel); see also Liberty Ins.
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Corp v. Diagnostic Chiropractic MI, PC, No. CV 24-10831, 2024 WL 5286840, at *1 (E.D.

Mich. Dec. 17, 2024) (same); see also Davidson v. City of Alma, No. 1:17-CV-12686, 2019

WL 1271038, at *1 (E.D. Mich. Feb. 22, 2019), report and recommendation adopted, No.

1:17-CV-12686, 2019 WL 1255214 (E.D. Mich. Mar. 19, 2019) (individual plaintiff

given 30 days to find new counsel); see also Emma S. v. O'Malley, No. 2:24-CV-12263,

2024 WL 5357152, at *1 (E.D. Mich. Dec. 26, 2024) (individual plaintiff given 30 days

to find new counsel and extension of deadline to respond to motion for summary

judgment).

      Plaintiff is a licensed attorney who initially filed this case pro se, and who should

be capable of taking appropriate action to move it forward in a timely fashion, if

necessary. A 28-day extension of the deadlines set for the amendment of pleadings and

supplemental production is more than sufficient, particularly given that Plaintiff is an

attorney, and has already acted as attorney of record in this case. Defendants should

not bear the burden of further time and expense associated with Plaintiff’s refusal or

inability to efficiently participate in the discovery process and move her case forward.

      In sum, Defendant OMP concurs in Goodman Kalahar and McGinn Montoya

Love Curry & Sievers PA’s request to withdraw as counsel for Plaintiff. Given the

circumstances presented here, Defendant OMP respectfully requests that the Court

deny Plaintiff’s request for a stay of the proceedings, and grant Plaintiff a 28-day

extension during which to find new counsel or otherwise proceed with the case.



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Dated: June 9, 2025                      Respectfully submitted,


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                          CERTIFICATE OF SERVICE


I hereby certify that on June 9, 2025, I electronically filed the foregoing document with
the Clerk of the Court using the ECF system, which will send notification of such filing
and service of said documents to all parties through their counsel of record.


                                         DEBORAH GORDON LAW
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